                              Case
                               Case2:12-cr-00440-RCJ-EJY
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                         8
                                 Attorneys for Defendant ARCHIE GRANATA
                         9

                         10                                       UNITED STATES DISTRICT COURT
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                                                                       DISTRICT OF NEVADA
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                                 UNITED STATES OF AMERICA
                                                                                  Case No.: 2:12-cr-00440-RCJ-GWF
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                                                Plaintiff,
                         13                                                       STIPULATION AND PROPOSED ORDER
~ ~ w 13 ;::::;
w....,...:Jw~
o~~zu.J                                 vs.                                       FOR RETURN OF DEFENDANT ARCHIE
                         14
~ ~ ~ o:r::
         ~6                                                                       GRANATA'S PASSPORT
......l        ~
                         15 II ARCHIE      GRANATA
  o    ~ >- ~
  0::: ~ 13 u.J
  < u.J f-<    lJ'"\
                                                Defendant.
  ::c ~ z                16
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          ~              17

                         18             IT IS HEREBY STIPULATED AND AGREED, by and between Robert Knief,

                         19 II Assistant   United States Attorney, Richard B. Herman, Esq. and Carter R. King, Esq.,
                         20
                                 attorneys for Defendant Archie Granata, that Defendant Archie Granata's United States
                         21
                                 passport be returned to Defendant Granata from Pre-Trial Services.
                         22 ..

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                                                             th
                         2411           DATED this 13 Day of January, 2016

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      Case2:12-cr-00440-RCJ-EJY
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      Respectfully submitted:

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      By: /s/ Richard B. Herman                By: /s/ Carter R. King
3
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4     New York Bar No. 1898758                 Nevada Bar No. 1680
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6     Attorney for Defendant, Archie Granata   Attorney for Defendant, Archie Granata
7

8

9  DANIEL G. BOGDEN
   OFFICE
10 United States Attorney
   By: /s/ Robert Knief
11 ROBERT KNIEF
12 Assistant United States Attorney


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                                               ORDER

             Based upon the foregoing Stipulation, and with good cause appearing, IT IS
2
      HEREBY ORDERED that the Return of Defendant Archie Granata's United States
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4     Passport is GRANTED.

5            IT IS FURTHER ORDERED that Pretrial Services shall return Mr. Archie

6     Granata's passport to Mr. Granata.
7
             IT IS SO ORDERED
8
           DATED:
            DATEDThis
                  this 12
                       __ day
                          th
                             dayofofFebruary,
                                     January, 2016.
                                              2016
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10
                                   UNITED STATES DISTRICT JUDGE
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      Respectfully Submitted by:
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      Isl Richard B. Herman
15
      RICHARD B. HERMAN, ESQ.
16    Attorney for Defendant, Archie Granata

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